Case 1:05-cr-10032-.]DT Document 7 Filed 04/22/05 Page 1 of 2 Page|D 7
F|LED |N OPEN COURT:

UNITED sTATES DIsTRICT COURT DATE.._LL‘L'&ELL--
wEsTERN DISTRICT oF TENNESSEE TlME: @; 43 pm
Eastern Division

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UNITED STATES OF AMERICA

-vs- Case No. 1:05cr10032-002-T
RONNIE L. MULLEN

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
~ The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

~ All purposes including trial and appeal

DONE and ORDERED in ll l South Highland, Jackson, TN this 22nd day of April, 2005 .

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S. THoMAs AN`I')ERsoN
UNITED sTATEs MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Oftice

Assistant F ederal Public Defender

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
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M. Dianne Srnothers

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Ste. B-S

Jacl<son, TN 38301

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

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Honorable J ames Todd
US DISTRICT COURT

